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 8                              UNITED STATES DISTRICT COURT
 9               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 UNITED STATES OF AMERICA,                          CASE NO. 21-CR-00106-MCS
12                     Plaintiff,                     AMENDED ORDER
13               vs.
                                                      [Filed concurrently with Stipulation]
14 U.S. PRIVATE VAULTS,
15                     Defendant.                     Assigned to Hon. Mark C. Scarsi
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18 GOOD CAUSE APPEARING THEREFORE:
19 1.            Not later than three days after the issuance of this Order, the Government
20 shall provide to counsel for Movants Michelle Friedman Gerlis and Reason
21 Magazine a copy of the search warrant and affidavit for U.S. Private Vaults, 9182
22 W. Olympic Blvd., Beverly Hills, CA, which was executed on or about March 22,
23 2021.
24 2.            Such documents shall not be redacted except as follows. The Government
25 may redact: (a) any information it believes is a residential address; (b) any vehicle
26 license or registration number; (c) that portion of the affidavit explaining the
27 Government’s basis for believing that an individual resides at a particular address.
28 / / /

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                                                  ORDER
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 1 3.            The original (unredacted) version of these documents shall remain sealed.
 2 The redacted document shall be treated as unsealed.
 3 4.            The Motion to Unseal (Dkt No. 48), currently scheduled for August 9, 2021,
 4 is taken off calendar.
 5 DATED: August 5, 2021
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                                                 Honorable Mark C. Scarsi
                                                 United States District Judge
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12 Submitted by:
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14 Bird, Marella, Boxer, Wolpert,
     Nessim, Drooks, Lincenberg & Rhow, P.C.
15 Benjamin N. Gluck
     Nicole R. Van Dyk
16 Naomi S. Solomon
17
18        /s/ Benjamin N. Gluck
19              Benjamin N. Gluck
   Attorneys for Movant Michelle Friedman
20 Gerlis Joining Movant Reason Magazine
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                                                 ORDER
